Case: 3:19-mj-00498-MJN Doc #: 5 Filed: 08/12/19 Page: 1 of 1 PAGEID #: 11

AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT
for the

Southern District of Ohio

United States of America

 

 

Vv. )

) Case No. of es
ETHAN KOLLIE ) 2 4 \4 ii) CAB
)
)
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) ETHAN KOLLIE >
who is accused of an offense or violation based on the following document filed with the court:

O Indictment 1 Superseding Indictment 1 Information O Superseding Information ow Complaint
O Probation Violation Petition C1 Supervised Release Violation Petition OViolation Notice O Order of the Court

This offense is briefly described as follows:

Count 1: 18 U.S.C. § 922(g)(3) - Possession of a firearm by an unlawful user/addict of a controlled substance
Count 2: 18 U.S.C. § 924(a)(1)(A) - Making a false statement regarding firearms

     

 

 

 

 

Date: 08/09/2019 wf | ae - , A Fa ill
ler { nay Issuing officer s Reatire
City and state: | Dayton, OH Hon. Michael J. Newman,-:U,8-Magistrate Court Judge _

Printed nayne and title

 

Return

 

This warrant was received on (date) G J GF {26€ 7 , and the person was arrested on (date) / z / 7
at (city and state) Seaverc reels } 2 Ht :

Date: in?

7} oy crag
Gd wilt oud 5 , ;
~ C__Arfesting officer's signature

VASAL Grego Special BL

rinted hame and thle

 

 

 

 
